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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
                                                  /

                           DEFENDANTS’ NOTICE OF SEALED FILING

             Defendants BuzzFeed, Inc. and Ben Smith hereby provide notice pursuant to Southern

   District of Florida Local Rule 5.4(b)(1) and the Court’s Order entered September 19, 2018,

   Dkt. 205 (the “September 19 Order”), of the filing of Defendants’ Opposition to Plaintiffs’

   Motion to Exclude the Testimony of Anthony Ferrante, and the exhibits thereto.

             Good cause exists for the sealing of these papers because they contain information and

   documents that were designated Confidential or Attorneys’ Eyes only pursuant to the Court’s

   Amended Protective Order, Dkt. 97, and information and documents disclosed by the U.S.

   Government under the terms of the Court’s Protective Order entered August 24, 2018, Dkt.

   194.

             Pursuant to the September 19 Order, Defendants will file a public, redacted version of

   this Motion and its supporting papers within seven days.
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   Dated: October 29, 2018
                                    Respectfully submitted,
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